
JOHN STOKELEY,
one of the Justices of Wood ” county, at a court held for the said county, on the 6th July, 1812, offered to the court two protests, which were ordered to be filed. The said court considered the said protests as a contempt, and entered judgment against him for a fine of fifty dollars. The protests were in the following words. “ John Stokeley protests against the ap- “ propriation now about to be made for to pay for the M completing the jail, and clerk’s office, as he verily be- “ lieves that the said buildings, according to contract ex- “ pressly set forth in the bond of the undertaker, was not “ completed neither as to time, or workmanship, and “ therefore protests against the levying any more money “ of the people until the work is completed. And further, “ the said protestant believes that the order for said “ buildings was first made prematurely, especially as to “ the jail.”
Again. “ July 6th, 1812. Taking into view the conduct “ of a few of the justices, at the several different courts “ lately held in the county, concerning the erection of a “ new court-house in the town of Parkersburg, to wit, at *331st November, December, and January courts last past, “ and again at April, May, and June courts last past, on “ a mature consideration, we do think that some of the “ said justices hath not only veered from the spirit and in-. “ tention of the law, but have acted contrary to the lite- “ ral meaning of the statute laws of Virginia, as well as “ contrary to the will and wishes of a large majority of “ the good citizens of this country. It appearing to us the “ subscribers that our country is assailed by tyranny abroad “ and are now forced into a war, and that this country is “ like to be oppressed by a mistaken act of some of oar “ said justices, who, accordingtothe opinion of the subscri- “ bers, have t&lt; anscended the autho.hr given them by our “ laws, if not by rescinding the order (last April) which “ was made at last December court, and again by xmlli- “ fying a contract that .had been made by certain citizens “ for the erection of said court-house. They have most cer- “ tainly transcended the law, by hurrying on the last order “ for erecting said buildings, and have infringed the inter- “ est of the people, by amercing this weak and new county “ into a debt of upwards of eight hundred dollars extra- “ traordinary, viz. more than the first contract: which we “ view as not only illegal on account of the order for “ summoning the justices being made on the 7th April, “ and the order for erecting said court-house being on “ the 4th May then next ensuing, which is only twenty “ six days instead of one month at least (according to the *332u expression of the law,) but at this crisis we do think “ that act of said justices oppressive, and do therefore “ protest against the collection of the money intended to “ be applied to pay for said court-house, as we do repeat “ that we view that levy as unwarranted by law, and op-u pressive to the people. Given under our hands the day “ and year aforesaid.
“JOHN STOKELEY”
On the application of the said Stokeley, the superioi court of law of that county awarded a writ of error to the judgment of the county court imposing the fine on him. And at the April term 1813, the superior court adjourned the case for novelty and difficulty to the general court, for their decision on the following points,
“ 1st. Whether this court hath jurisdiction of the case. “ 2d. Whether from the facts stated in the record, John “ Stokeley was guilty of a contempt to the county court « of Wood.” -
November 12th, 1814, the general court unanimously decided, “that the superior court hath jurisdiction of this “ case, the fine being imposed by an inferior court; and « that from the facts stated in the record of the said case, « the said John Stokeley was not quilty of a contempt t« “ the county court of Wood county.”
